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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

Monique R. Davis                                     )
                                                     )
                       Plaintiff,                    )
                                                     )       CASE NO. 19-cv-00660 APM
       v.                                            )
                                                     )
WASHINGTON METROPOLITAN                              )
AREA TRANSIT AUTHORITY                               )
                                                     )
                                                     )
                       Defendant.                    )


      WMATA’S SUPPLEMENT TO ITS EXCEPTION TO JURY INSTRUCTIONS

       WMATA, by counsel, respectfully supplements its exceptions to the Court’s proposed

jury instructions as follows:

       Not only did Plaintiff’s experts fail to provide any opinions of permanent injury, Reza

Ghorbani, M.D., testified that Plaintiff had 100% relief from his treatment. See Exhibit 1. In light

of the fact that Plaintiff’s own physician found that she had recovered from her injuries, a jury is

in no position to find that the injury is permanent. See American Marietta Co. v. Griffin, 201 A.2d

710, 712 (D.C. 1964). When a party’s own doctor does not corroborate a claim of permanence, a

jury may not infer same. See Green v LaFoon, 173 A.2d 212, 213-214 (D.C. 1961). As such,

no instructions allowing for recovery for permanent injury should be given.



                                              Respectfully Submitted,

                                              /s/ Nicholas L. Phucas
                                              Nicholas L. Phucas, #475163
                                              Sarah E. Allison , #996402
                                              WMATA
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was served electronically this 29th day

of August 2021, to:



Michael D. Reiter
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                                             /s/ Nicholas L. Phucas
                                             Nicholas L. Phucas, #475163




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